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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
XIFEI XU,
                                    Plaintiff,                          18 CIVIL 1222 (RA)

                 -against-                                                JUDGMENT

CITY OF NEW YORK; NEW YORK CITY
POLICE DEPARTMENT; POLICE OFFICER
JOSEPH BOZZO, in his official and individual
capacity as a New York City Police Officer;
POLICE SERGEAT NICHOLAS GULOTTA, in
his official and individual capacity as a New York
City Police Officer; JOHN DOE 1, in his official
and individual capacity as a New York City Police
Officer,
                                     Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated April 30, 2020, Defendants’ motion for summary

judgment is granted; accordingly, the case is closed.


Dated: New York, New York
       April 30, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
